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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                           Case No. 1:22-cr-20378

v.                                                          Honorable Thomas L. Ludington
                                                            United States District Judge
JEREMY ADAMS,
                                                            Honorable Curtis Ivy Jr.
                  Defendant.                                United States Magistrate Judge
________________________________________/

     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING GUILTY
       PLEA, AND TAKING RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

         Magistrate Judge Curtis Ivy Jr. conducted a plea hearing upon Defendant Jeremy Adams’s

consent. ECF No. 47. On March 20, 2023, Judge Ivy issued a report recommending the acceptance

of Defendant’s guilty plea. ECF No. 48. Judge Ivy gave the Parties 14 days to object, but they did

not do so. They have therefore forfeited their right to appeal Judge Ivy’s findings that Defendant

was competent to enter a plea and did so knowingly, voluntarily, and with a basis in fact. See FED.

R. CRIM. P. 11(b); Berkshire v. Dahl, 928 F.3d 520, 530–31 (6th Cir. 2019) (citing Thomas v. Arn,

474 U.S. 140, 149 (1985)).

         Accordingly, it is ORDERED that Judge Ivy’s Report and Recommendation, ECF No. 48,

is ADOPTED.

         Further, it is ORDERED that Defendant’s guilty plea is ACCEPTED, and that the Rule

11 Plea Agreement, ECF No. 47, is TAKEN UNDER ADVISEMENT.


         Dated: April 3, 2023                        s/Thomas L. Ludington
                                                           THOMAS L. LUDINGTON
                                                           United States District Judge
